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Cas;e 3

 

 

Effective Date: May1,2007 lndex# 505.01 Page 7 of 15

 

 

 

Subj€Ct; SENTENCE CREDITS

 

 

 

(5) When an inmate is in more than one program in any month, all
supervisors are required to evaluate that inmate's performance in those
programs Only one entry will be made based on a compilation of
evaluations In cases of institutional transfer, the appropriate amount of
credits will be forwarded by the IJC, using e-mail (LSWA) to the IJC at
the institution housing the inmate.

(6) lf an inmate is incapable of performing within his/her assigned program
as a result of injuries received while participating in the program, he/she
shall continue receiving program credits until the medical staff
determines that he/she may return to a suitable program. This applies
only to those situations wherein the injury was ruled accidental and not
of a type for which the inmate could have been removed from the
program. The injury must have been received while the inmate was
performing tasks within the scope of his/her job duties. The inmate need
not be returned to the same program in which he/she was assigned at
the time the inmate was injured.

(7) Time missed from program participation for authorized/payable reasons
listed in Policy #504.04 will be counted towards an inmate's
participation time in that month for the purposes of determining
eligibility to receive program credits.

(8) Time missed from program participation for unauthorized/non-payable
reasons listed in Policy #504.04 will not be counted towards an inmate's
total participation time in that month for the purposes of determining
eligibility to receive program credits.

g. lnmates are not authorized to receive PSRC (or are authorized to receive such
credits only on a limited basis) under the following conditions:

(l) Behavior and program PSRC will not be awarded for any month in
which an inmate is convicted of a Class "A" disciplinary offense,
including bonus behavior credits. (CR-3224 is not required to notify the
inmate of the denial of credits). Any inmate convicted of a disciplinary
offense for refusing to provide a blood specimen for DNA testing shall
not be awarded behavior sentence credits, including bonus behavior
credits, each and every month until such time he/she provides the
specimen. 'l`he Warden shall send a memorandum to the manager of
SCS stating that the inmate will not receive behavior credits until further
notice. At such time that the inmate provides a blood specimen for
DNA testing, the Warden shall notify the manager of SCS in writing.

(2) Educational Good Time Credits will not be credited to an inmate who is

classified as maximum custody or who is in punitive segregation If an

‘ inmate completes an educational/vocational course and passes the
requirements prior to being placed on maximum custody or in punitive

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Effective Date: Augustl$, 2003 lndex# 401.05 Page 3 of 4

 

 

 

Subject: RECLASSlFlCATION PROCESS

 

4. The warden (and/or CD at privately managed facilities) directs a review of the
inmate’s status for administrative purposes;

5. The inmate’s current disciplinary conviction record suggests the need for increased
supervision
G. The correctional classification coordinator (CCC) is responsible for:

l. Maintaining an accurate tickler file (may use INFOPAC report Class/Reclass
Schedule List, BlOll\/IHB, or other manual system). which accounts for each
inmate permanently or temporarily assigned to the facility, indicating the next
reclassification hearing due date.

2. Ensuring that reclassification hearings are scheduled and completed within
established time frames

3. Ensuring the accuracy and appropriateness of the CAF and the panel’s
recommendations for custody, program, and facility assignment, as well as the
timely and accurate entry of TOMIS data on LCLN, including the completion of
Option 3 with necessary recommendations and assignments

4. At privately managed facilities, the CD must review for approval all classification
actions, which involve custody increase, custody decrease, override, or institutional
transfer. (See TDOC Policy #940] .08 until it is incorporated into #40| .08.)

a. The CD has the responsibility of periodically reviewing the CAF scores
for accuracy with regard to criminal conviction history reports generated
by FBI/NC[C.

b. When the CD observes an incorrect CAF criminal history rating, an

initialed/dated correction shall be made on the form and the matter referred
back to the CCC for any necessary action.

4. Ensuring that recommendations for custody changes and transfers are clearly
explained on the classification summary prior to being forwarded to the final
approving authority.

l-I. Appearances before the disciplinary board, protective custody panel, or administrative
segregation review panel are not counted as reclassification hearings

I. Placement in administrative segregation precludes reclassification until the inmate is
released from that status. (See TDOC Policy #404.|0. Privately managed facilities adhere
to Policy #9404.l0 until it is incorporated into #404.10.).

J. For the purpose of population management, the Director of Classification
Programs/designee may order a change of facility assignment for a specific number of
inmates Targeted institutions will be notified by email to effect these changes

l. lf the inmate’s custody level changes, a reclassification hearing is required

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Subject: ADMINISTRATIVE SEGREGATION, PLACEMENT, AND RELEASE

 

B. _ Review ofAS Inmates:'

l. Periodic reviews by the administrative review panel shall be provided to determine

_ v whether or not release from AS should occur. When reviewing an imnate’s case

' for possible release from AS', the panel should consiler the following factors in
making'the determination: _ ' '

The inmate’s complete institutional disciplinary record
Past criminal record

Past record of incarceration

Criminal activity in prison

Attitude towards authority

Institutional record on work assignment

Adjustment to program (period of segregation)

Willingness and ability to live harmoniously among others
Record of violent reactions to stressful situations

Existence of condition(s) which initially required segregation
Involvement in security threat group activity, if applicable

F`-“'~*"P‘<i°r*>.<v 19 ira

2. Every seven days from date signed by approving authority, an inmate’s status will
be reviewed by the administrative review panel or other authorized staff designated

by the Warden during the first two months in AS. The 4b and 8"' week reviews
shall be in accordance with VI. (B)(3) below. Weekly reviews are documented on
Contact Notes (LCDG) (Code: ASRV) and shall include a summary of the
inmate’s adjustment as well as panel members present

3. A hearing before the administrative review panel should occur at least once every
30 calendar days, and recommendations shall be documented on the AS Review
Report, BIOlD084, and forwarded to the Warden Monthly panel hearings are to
be documented on Offender Findings (LCLF) (Code: AS). The Warden will
review the recommendations of the panel and make the final decision If the
Warden believes the inmate should remain under AS where the panel has
recommended release, there shall be a detailed statement of reasons prepared with
a copy provided to the inmate. At privately managed facilities, the CD shall review
the matter for approval (See VI.(A)(6) when denied)

4. All hearings at the institutional level shall be conducted with the inmate present
unless the inmate’s presence would cause concern for security or safety reasons, or
the inmate refuses to attend, which shall be documented).

5. In cases of the panel recommending release from AS for four consecutive months,
where the Warden has believed it necessary to continue segregation, the Warden
shall forward all relevant documentation, including the reasons for the initial
placement, to the Director of Classification. Within ten working days, the Director
shall convene an administrative review of 'the case with the Assistant
Commissioner of Operations. The decision of the administrative review is iinal.
Copies of the panel’s decision shall be forwarded to the Warden and inmate.

Case 3:16-cV-00250-RL.]-DCP Document 20 Filed 08/25/16 Page 13 of 19 Page|D #: 188 . _

 

State ofTennessee
DEPARTMENT OF CORRECTION
Division of Adult Institutions
West Tennessee State Penitentiary
P.O. Box l 150; 480 Green Chapel Rd.
l~lenning. Tennes_see 38041-1150
TELEPHONE (73l) 738-5044 - FAX (731) 738-5947

MEMORANDOM

'I`O: Inmate Population

FROM: Jason E. Gilbert. Grievance Chairperson

DATE: lanuary 06. 2014

sUBJECT: TDOC POLlCY 501.01, NON-GRIEVABLE lSSUES

VI, C, l .................. Time Limit Expired

VI, C, 1 .................. Multiple Issues

VI, H, l .................. Disciplinar'y (W/INC. #)

VI, H, 2 .................. Outside Agency (USPS/ITS/ETC.)

VI, H, 3 .................. Classification

VI, H, 4 .................. Sentence Cr'edits

VI, H, 5 .................. Requesting Compensation

VI, H, 6.. ................ Sentence Structure

VI, H, 7 ................... Visitor Behavior

VI, H, 8 ................... Medical Diagnosis, Requirements of the
Therapeutic Community, and Medical Co pays.

VI, H, 9 .................. STG Program Placement

VI, H, 10 ................. lVIail Rejection

VI,I,l ..................... Same/Similar (W/#)

VI, I, 3 .................... Profanity, Insults, Racial Slurs, and Threats.

Note: lnmates have the right to file a grievance on any of the above issues; however, a grievance found to he Non-Grievable will be deemed
lnappropriate. (See Policy 50l .01 Section l-l)

Seeking monetary compensation for injuries or property loss is a matter inappropriate to the grievance procedure lvlonetary claims against TDOC or its
employees based upon alleged negligent care of individuals or personal property should be filed with the Tennessee Claims Commission pursuant to T.C.A, 9-
8-101 et. seq.

Thank you for your cooperation in this matter.

g/l;/i//L/ /Mq”i
l \i
Cpl. Jason E Gilbert

Grievance Chairperson

Case 3:16-cV-00250-RL.]-DCP Document 20 Filed 08/25/16l Page 14 of 19 Page|D #: 189

_olLJED TOMIS DATE: 05/09/2016
' PROGRAM ASSIGNMENT NOTICE TIME: 11;50 AM

TGMIS ID: 00207584 SETTLE, MIKE
Status: ACTV Sex: M Race: B Age: 47 DOB: 03/22/1969

InStitutiOn Name: MORGAN COUNTY CORRECTIONAL COMPLEX

Job/class Name; CLEANER, COMMERCIAL/iNDUSTRIAL
Section ID: Position ID: 0149

JOb D€SC: SWEEPS AND MOPS ON A DAILY BASIS. BUFF FLOORS AS NEEDED.
CLEAN, DUST AND DISINFECTS EMPTY ROOMS AS NEEDED. CLEAN
OFFICES AND RESTROOMS AS NEEDED. MAY DELIVER TRAYS TO
INMATES. WILL PERFORM OTHER DUTIES ASSIGNED BY UNIT MANAGER
OR OTHER STAFF. UNIT MANAGER WILL HAVE INPUT FOR INMATE JOBS
JOBS IN HSHU. OFF DAYS & HOURS MAY BE CHANGED AS NEEDED.
2ND SHIFT ............ CLOSE SECURITY CUSTODY.

Report tO: STEWART, KRISTOPHER
Report Location

Unit ID: Room:
Work Area: UNIT TEAM 6

Pay Period: HOURLY Pay Rate: Incentive Pay (Y/N): N
Schedule

Start Date: 05/09/2016 Time FrOm: OZ:OO PM TOr 09:00 PM

End Date : Time From: TO:

Day Of the Week
Monday
Tuesday
Wednesday
Thursday
Friday
Saturday
Sunday

N

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UI`lA/£U'|{J k l'<!:§ lIN\ DE“|€ #LUIDG‘}

RE: I/M Setl:le #207584

Sarah L. Campbell
Sent:Thursday, June 11, 2015 3:08 PM
To: Mathew B. Pais|ey

He's not on the docket because 0¥ his maximum custody level.

 

Thanks
Sarah

Sarah Campbell, IPPQ

Lois M. Deberry Special Needs Facility
TDOC

7575 Cockerill Bend Blvd

Nashville, TN 37299

ph (615) 350-3848

rex (615)_350-27s6

sarah.l.campbell@tn.gov

 

From: Mathew B. Paisley

Sent: Thursday, June 11, 2915 1@:22 AM
To: Sarah L. Campbell

Subject: I/M Settle #297584

'”‘Hello-*>e¢';e~~~ ' '. ~ ~ »w . . nn _,'..A : . _ _ l
Inmate Settle has been inquiring and has shown me documents that indicate he was to be on

the docket For parole this month. Is there a reason he was on included on the docket? He has
not received notification as to any changes that may have been made regarding his case. Any
input would be greatly appreciated. ` '
Matthew Paisley, Unit 1 Counselor
Riverbend Maximum 5ecurity Institution
7475 Cockrill Bend Blvd.
Nashviiie, TN 37243

(615)350-3611

»#e

Case 3:16-CV-00250-RL.]-DCP Document 20 Filed 08/25/ 6 Pa,qel 01:.(;|,1§913b131>R§¢iglell'b)ni$§iv 1911

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TNST§41-21-204 Page 1 0f4

T. C. A. § 41~21-204

West' s Tennessee Code Annotated Currentness
Title 41. Correctional Institutions and Inmates

"- Chapter 21. lnmates

"l Part 2. Regulation and Care of lnmates 4
-+§ 41-21-204. H`ealth care and treatment; psychological services

<Text of section effective until January 1, 2011. See, also, section effective January~ l,
2011.>

(a) All inmates at their reception and at such times thereafter as may be deemed
lnecessary shall be examined by a physician for the purpose of determining their status

  
 
 

of health.
";;§»*`l'he medical director shall conduct a daily outpatient clinic. Any inmate who fsb
-"all receive proper medical treatment.

' (c)(l) The physician shall, acting under and subject to the power of the Commissioner
of correction, visit the penitentiary in the discharge of duties as often as may be
necessary, prescribe for inmates who may be sick, and attend to the regimen, clothing
and cleanliness of such of them as are in the hospital, and report to the commissioner
any failure on the part of the warden to provide fully for their necessary wants.

g (2) The physician shall keep a regularjournal, to be left in the penitentiary, stating the
time of all admissions to the hospital, the nature of the disease, and the treatment of
each patient, the time of the patient's discharge from the hospital or of the patient's

death.

(3) The physician shall keep a register of all the inmates under the physician' s charge,
stating their diseases, the cause thereof when practicable, and the state of their health
on entering and leaving the hospital. The physician shall also keep a register of all
infirm inmates, giving their names, ages, places of birth, and the particular infirmity of

‘ each. The register shall always remain in the hospital, open to inspection.

(d) The commissioner may remove the inmates in the penitentiary toy such place of
security in this state as the commissioner may think best, if, in the commissioners
opinion, the prevalence of any epidemic,.infectious, or contagious disorder, or other

urgent occasion, renders it expedient and proper.

(e) Any inmate~who is sick at the expiration of the term of imprisonment shall not be
discharged until the inmate's health is restored, except at the inmate's request.

(f)( 1) To the extent necessary, the department of correction may contract with the
department of mental health and developmental disabilities to ensure that
psychological services are available at an adequate level and quality for all inmates
who are in the department's custody and who are in need of‘those services but who do

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http: //correctional. westlaw. com/result/documenttext aspx?sv=Fu]l&service=Find&iinqv=... 10 5/2010

  
 
  

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nurse 1"01' the sick cali.
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Department ol`

............. Correction

july 29, 2015

l\/lr. |\/|ike Sett|e # 207584

Riverbend Maximum Security |nstitution
7475 Cockri|l Bend Blvd

Nashvi|le, TN 37243

Dear l\/lr. Settle:

Your petition for transfer to federal custody, in accordance with the |nterstate Corrections Compact
(|CC), has been referred to the Department of Correction, Office of the General Counse|, by the
Commissioner. l have been assigned to review and respond to your petition on behalf of the
Commissioner.

The Department is only considering transfers, in accordance with the lnterstate Corrections
Compact (|CC), where an inmate is a security issue and the Department’s chain of command has not
informed this office that you are a security issue.

 

Also, in accordance with the federal judgment order, that you provided, your federal sentence was
ordered to run consecutive to your state sentence, as ordered by the court ofjurisdrctron.

Therefore, the Department respectfully denies your petition to transfer in accordance with the
lnterstate Corrections Compact (lCC).

Sincerely,

Dougla%tephegw>

Detalner Administrator
Office of the Genera| Counse|

cc: |n'stitutional File

 

Department of Correction ~ 6"‘ FloorRacl1eljacl<sorr Building 1 320 6ah Avenue l\lorth -

/` 3 - : "- 1-’000- F 1: F‘5-532-8281 »tr. ov/Correction
case 3:16-§3§30{§%0[-\§£121?06§' 6t1)°oi:irrr'1em 25y F=lled 023/25/115g Page 19 of 19 PagelD #: 194

